Case 1:21-cr-00051-TJK Document 61 Filed 08/04/23 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

U.S.A. vs. Bentancur, Bryan Docket No.: 1:21CR00051-001

The Court may enter a minute order for any of the following options:

Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

1. 8S Concans with the recommendation of the Probation Office to “modify Betancur’s special
conditions of supervised release as noted below:

I. Location Monitoring - You will be monitored by the form of location monitoring
technology indicated herein for a period of 60 days, and you must follow the rules and
regulations of the location monitoring program. The cost of the program is waived.
Location monitoring technology at the discretion of the probation officer, including:
Radio Frequency (RF) Monitoring; GPS Monitoring (including hybrid GPS);
SmartLINK; or Voice Recognition This form of location monitoring technology will
be used to monitor the following restriction on your movement in the community: You
are restricted to your residence at all times except for employment; education; religious
services; medical, substance abuse, or mental health treatment; attorney visits; court
appearances; court-ordered obligations; or other activities as pre-approved by the officer
(Home Detention).

2. Computer Search - You must submit your computers (as defined in 18 U.S.C. §
1030(e)(1)) or other electronic communications or data storage devices or media, to a
search, You must warn any other people who use these computers or devices capable of
accessing the Internet that the devices may be subject to searches pursuant to this
condition, A probation officer may conduct a search pursuant to this condition only
when reasonable suspicion exists that there is a violation of a condition of supervision
and that the computer or device contains evidence of this violation. Any search will be
conducted at a reasonable time and in a reasonable manner.

3. Notification of computer monitoring to potential employer — You are required to notify
current and potential employers of your computer monitoring condition.

4. Computer Monitoring Software Search - You must allow the U.S. Probation Office to
conduct initial and periodic unannounced searches of any computers. Initial searches
of computer devices will be conducted to determine if the device has any materials that
would be a violation of the Court’s ordered conditions; or programs/applications,
settings, configurations that would be problematic for monitoring software (if ordered)

Case 1:21-cr-00051-TJK Document 61 Filed 08/04/23 Page 2 of 2

and the Cybercrime Management Program requirements. Periodic unannounced
searches of your computer devices will be conducted to verify the monitoring software’s
functionality (if ordered), the device’s configuration requirements are unaltered, and no
circumvention efforts have been made to alter the device’s operation(s) or functionality.

5. Computer Monitoring - You are permitted use of conventional computer(s)
(Desktop/Laptop computers, Smart Phones/Tablets) with internet access and will permit
the U.S. Probation Office to configure, manage, and install monitoring software on all
your approved conventional computer devices. Your conventional computer device(s)
are limited to those that can be configured, managed, and monitored by the U.S.
Probation Office. The configuration, management, and monitoring of your
conventional computer devices shall be specific to your Court ordered conditions, risk
and needs, and Cybercrime Management Program requirements.

6. Computer Restriction: Your use of conventional computer(s) (Desktop/Laptop
computer, Smart Phones/Tablets) is restricted to two hours per day for legitimate and
necessary use as approved by the U.S. Probation Office. Examples of legitimate and
necessary use are employment, education, religious activities, treatment,
communication with friends/family, legal consultation, personal finance, and legal
obligations.

7. Computer Management - You are ordered to participate in the U.S. Probation
Cybercrime Management Program and will inform your officer of all computer devices
possessed or accessible to you and shall not acquire or access any new or additional
devices unless approved by your officer.

8. Social Media Restriction- You must seek the approval of the probation officer if you
wish to access, view, or use any online social media. You must not download any social
media apps to your phone or computer. You must not access social media on any other
device not approved by the probation officer. Social media includes social media sites,
chat services, blogs, instant messages, SMS, MMS, digital photos, video sharing
websites, emails or any other interactive, online, or electronic communication
applications or sites.”

No action

Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

Issuance of a summons and schedule a hearing

5! Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate

judge for the preparation of a report and recommendation to the district judge. This designation

will remain for the duration of the case, and the designated magistrate judge will respond to all
subsequent requests from the probation office unless otherwise ordered by the district judge.

AWN
OOo

6. O Other

Ly
waa fs AZ L[_A
lt IZA
“i we" ff
Timothy J. Kelly ©
United States District Judge

s/3/o2
Date

